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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                            §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §   CIVIL ACTION NO. 3:19-CV-03016-X
                                                  §
GRANT STINCHFIELD,                                §
                                                  §
       Defendant.                                 §


     JOINT MOTION FOR EXTENSION OF THE DISCOVERY DEADLINE AND THE
          DEADLINE FOR THE PARTIES TO PARTICIPATE IN MEDIATION

        Plaintiff Ackerman McQueen, Inc., and Defendant Grant Stinchfield file this Joint

Motion for Extension of both the discovery deadline and the deadline to participate in mediation

as follows:

        1.        By Order dated April 17, 2020,1 the Parties were instructed to end the discovery

process by October 13, 2020 and participate in mediation by October 27, 2020. Currently there

are two pending discovery motions Plaintiff’s Motion for Protective order 2 and Plaintiff’s

Motion to Compel.3

        2.        On October 7, 2020 the Parties held a meet and confer and agreed it was best to

extend both the discovery deadline and the deadline to participate in mediation.

        3.        Therefore, in order to have the opportunity to continue to work toward a

resolution of the Motions, the Parties jointly request that the discovery deadline be extended to

March 5, 2021 and the deadline to participate in mediation be extended to March 19, 2021.

        1
            See ECF 9.
        2
            See ECF 11.
        3
            See ECF 21.
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       WHEREFORE the Parties request that the Court grant this motion and extend the

discovery deadline to March 5, 2021 and extend the deadline or the parties to participate in

mediation to March 19, 2021 and grant all other appropriate relief.


October 13, 2020                                    Respectfully submitted,

                                                 BREWER STOREFRONT, PLLC

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 13rd day of

October 2020.




                                                     /s/ Brian Vanderwoude
                                                     J. Brian Vanderwoude
